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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

GREGORY GREENE, JOSEPH LACK,
ANTHONY MOTTO, and GREGORY
PEARCE, individually and on behalf of all
others similarly situated,

                     Plaintiffs,            Case No. 14 C 01437

v.                                          Judge Gary Feinerman

MIZUHO BANK, LTD., a Japanese financial     Magistrate Judge Susan E. Cox
institution, and MARK KARPELES, an
individual,

                     Defendants.



            EXHIBIT 35 TO DECLARATION OF JEROME S. FORTINSKY
                  (MOTION TO FILE UNDER SEAL PENDING)
